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                                         Waymo v. Uber
                                   Case No. 3:17-cv-00939-WHA



                      TRIAL EXHIBIT 7418

Uber Objections:

                 Fed. R. Evid. 802 – This document contains inadmissible hearsay; while the header identifying
                  the document as Stroz work product and noting that “access” to a file may not indicate user
                  activity, the remaining over 200,000 pages of the document consist of nothing but metadata
                  copied from Anthony Levandowski’s laptop, untransformed by Stroz’s analysis.1 See Br. § III.

                 Fed. R. Evid. 403 – This document has little if any probative value. It poses a substantial danger
                  of wasting time, misleading the jury, and prejudicing Uber, however, because it is more than
                  20,000 pages long, creating logistical challenges and potentially swaying the jury by its sheer
                  volume. See Br. § IV.

                 Designated witnesses who received this document pre-litigation are: Eric Tate and John Gardner.
                  The document therefore cannot be admitted for a non-hearsay purpose of notice to Uber or
                  Ottomotto. See Br. § IV.




1
    To avoid burdening the Court, Uber has excerpted Trial Exhibit 7418 and filed just the first 10 pages.
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Morrison Foerster: Project Unicorn
Privileged and Confidential
ES034A ‐ Anthony Levandowski's Desktop Computer
                         The last accessed time stamp can be modified by both user activity as well as system processes.
                         As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#        File Ext                      Description                   Last Accessed          File Created          Last Written        Logical Size
     1              Physical Disk, 500,118,192 Sectors 238.5GB                                                                                   0
     2              Volume, Sector 2048‐206847, 100MB                                                                                        4,096
     3              Folder, Internal, Hidden, System                    5/14/2014 0:21        5/14/2014 0:21        5/14/2014 0:21             552
     4              File, Unallocated Clusters                                                                                         129,396,736
     5              File, Unallocated Clusters                                                                                               4,096
     6              File, Bitmap                                                                                                                32
     7              File, Internal, Stream, System                                                                                              32
     8              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13         131,072
     9              File, Internal, Stream, System                                                                                         263,776
    10              File, Internal, Stream, System                                                                                           4,096
    11              File, Internal, Stream, System                                                                                           4,096
    12              File, Invalid Cluster, Hidden, System, Archive     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
    13              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13               0
    14              File, Internal, Stream, System                                                                                     471,855,104
    15              File, Invalid Cluster, Hidden, System, Archive     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
    16              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13               0
    17              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13           8,192
    18              File, Invalid Cluster, Hidden, System, Archive     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
    19              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13          14,400
    20              File, Invalid Cluster, Hidden, System, Archive     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
    21              File, Internal, Stream, System                                                                                              56
    22              File, Invalid Cluster, Hidden, System, Archive     12/7/2014 4:27         12/7/2014 4:27        12/7/2014 4:27               0
    23              File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13           2,560


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                            The last accessed time stamp can be modified by both user activity as well as system processes.
                            As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#           File Ext                      Description                   Last Accessed          File Created          Last Written         Logical Size
    24                 File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13                 0
    25                 File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13         4,259,840
    26                 File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13             4,096
    27                 File, Internal, Hidden, System                    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13           262,144
    28                 File, Invalid Cluster, Hidden, System, Archive    9/17/2015 10:18        9/17/2015 10:18       9/17/2015 10:18                 0
    29                 File, Invalid Cluster, Hidden, System, Archive    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13                 0
    30                 File, Invalid Cluster, Hidden, System, Archive    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13                 0
    31                 File, Invalid Cluster, Hidden, System, Archive    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13                 0
    32                 File, Invalid Cluster, Hidden, System, Archive    9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13                 0
    33                 Folder, Internal, Hidden, System                  9/17/2015 11:13        9/17/2015 11:13       9/17/2015 11:13               552
    34                 File, Unallocated Clusters                                                                                       146,115,248,128
    35                 File, Unallocated Clusters                                                                                                 4,096
    36   tmp           File, Deleted, Overwritten                        2/21/2016 23:28        2/21/2016 23:28       2/21/2016 23:28         4,776,420
    37   tmp           File, Deleted, Overwritten                        2/21/2016 23:28        2/21/2016 23:28       2/21/2016 23:28           128,696
    38   tmp           File, Deleted, Overwritten                        2/21/2016 23:28        2/21/2016 23:28       2/21/2016 23:28            42,871
    39   tmp           File, Deleted, Overwritten                        2/21/2016 23:28        2/21/2016 23:28       2/21/2016 23:28             3,176
    40   tmp           File, Deleted, Overwritten                        2/21/2016 23:27        2/21/2016 23:27       2/21/2016 23:27             1,566
    41   tmp           File, Deleted, Overwritten                        2/21/2016 23:27        2/21/2016 23:27       2/21/2016 23:27               623
    42   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:39            24,061
    43   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:39            88,257
    44   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:11             2,411
    45   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:07             2,411
    46   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:12             2,411
    47   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/27/2016 14:56             2,509
    48   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/27/2016 14:56             2,509
    49   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:05             2,154
    50   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:08             2,154
    51   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:11             3,242
    52   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 18:03             3,242
    53   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       11/13/2015 7:17            12,516
    54   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       11/13/2015 7:12             2,618
    55   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/24/2015 11:39           121,137
    56   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       11/13/2015 7:13            77,817


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                                      Case 3:17-cv-00939-WHA Document 2623-7 Filed 02/05/18 Page 4 of 11
                            The last accessed time stamp can be modified by both user activity as well as system processes.
                            As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#           File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
    57   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22           67,228
    58   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:35          112,242
    59   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:32          150,693
    60   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    61   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    62   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    63   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    64   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    65   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    66   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    67   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        1/28/2016 3:07            2,904
    68   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22           24,554
    69   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22           36,865
    70   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:30           23,551
    71   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/8/2016 0:40           95,173
    72   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:37           38,460
    73   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22            7,870
    74   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:37           19,462
    75   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:37            7,679
    76   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22          296,655
    77   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27        12/7/2015 5:37           33,465
    78   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:30           17,276
    79   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:32           89,153
    80   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27      11/22/2015 11:35           81,658
    81   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22           24,659
    82   manifest      File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27         1/5/2016 3:22           16,124
    83   mum           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17          363,789
    84   mum           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            2,715
    85   cat           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
    86   cat           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
    87   cat           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,177
    88   cat           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22          194,671
    89   cat           File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,602


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                                 Case 3:17-cv-00939-WHA Document 2623-7 Filed 02/05/18 Page 5 of 11
                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
 90   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,602
 91   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
 92   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
 93   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,177
 94   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,174
 95   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,602
 96   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,602
 97   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           24,635
 98   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           14,871
 99   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,749
100   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,476
101   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
102   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           12,873
103   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           13,805
104   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           22,349
105   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,604
106   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
107   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,169
108   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,603
109   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,403
110   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,741
111   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
112   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,493
113   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
114   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,169
115   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            4,702
116   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,737
117   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,800
118   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23          207,947
119   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           13,381
120   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           55,889
121   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
122   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605


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                                 Case 3:17-cv-00939-WHA Document 2623-7 Filed 02/05/18 Page 6 of 11
                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
123   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,793
124   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,169
125   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,493
126   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
127   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,169
128   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,741
129   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
130   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,169
131   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,741
132   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
133   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,741
134   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,740
135   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,740
136   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,169
137   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,604
138   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,169
139   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,741
140   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
141   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,603
142   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            4,702
143   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           14,695
144   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           11,495
145   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           13,624
146   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,741
147   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,798
148   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           26,077
149   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           37,274
150   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           20,202
151   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,533
152   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,190
153   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            5,943
154               File, Internal, Hidden, System                     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21          262,144
155               File, Internal, Hidden, System                     5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21            4,096


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                                     Case 3:17-cv-00939-WHA Document 2623-7 Filed 02/05/18 Page 7 of 11
                           The last accessed time stamp can be modified by both user activity as well as system processes.
                           As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#           File Ext                   Description                     Last Accessed          File Created          Last Written        Logical Size
156                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21       2,097,152
157                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
158                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21           2,560
159                    File, Internal, Stream, System                                                                                             56
160                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21           3,200
161                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21           8,192
162                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
163                    File, Internal, Stream, System                                                                                    104,853,504
164                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21               0
165                    File, Internal, Stream, System                                                                                          4,096
166                    File, Internal, Stream, System                                                                                          4,096
167                    File, Internal, Stream, System                                                                                        267,564
168                    File, Internal, Hidden, System                    5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21         131,072
169                    File, Internal, Stream, System                                                                                             32
170   mum              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17           5,933
171   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22          86,898
172   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,605
173                    File, Bitmap                                                                                                               32
174                    File, Unallocated Clusters                                                                                              4,096
175                    File, Unallocated Clusters                                                                                         75,239,424
176                    Volume, Sector 206848‐499193855, 237.9GB                                                                               12,288
177   mum              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17           4,104
178   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,801
179   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,800
180   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,800
181                    Folder, Internal, Hidden, System                  5/14/2014 0:21         5/14/2014 0:21        5/14/2014 0:21             552
182   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,801
183   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,801
184   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,800
185   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,605
186   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22          11,228
187   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22          19,175
188   cat              File, Deleted, Overwritten, Archive              2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           9,605


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                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
189   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           12,677
190   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           13,069
191   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           10,177
192   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           15,152
193   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22           12,521
194   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:22            9,605
195   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,752
196   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,752
197   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,601
198   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
199   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23           10,193
200   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,754
201   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,754
202   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,754
203   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
204   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:17            1,758
205   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
206   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,605
207               File, Deleted, Overwritten                         2/22/2016 0:07         2/22/2016 0:07        2/22/2016 0:07           14,534
208   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:27        2/21/2016 23:27       1/30/2016 10:23            9,602
209   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,605
210   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
211   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,748
212   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,605
213   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,750
214   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,748
215   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,748
216   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
217   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,750
218   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,750
219   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,750
220   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,750
221   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605


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                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
222   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
223   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
224   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
225   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
226   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,736
227   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
228   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,736
229   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,736
230   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,736
231   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
232   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           17,957
233   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
234   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,744
235   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,746
236   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,744
237   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,744
238   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
239   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,793
240   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,746
241   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,746
242   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
243   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,604
244               File, Deleted, Overwritten, Archive                2/22/2016 0:07        10/30/2015 6:28        2/22/2016 0:07           13,098
245   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
246   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,742
247   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
248   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
249   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
250   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,604
251   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
252               File, Deleted, Overwritten, Archive               10/30/2015 9:02        10/30/2015 7:24       10/30/2015 9:02              664
253   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,944
254   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605


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                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
255   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,743
256   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,759
257   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
258   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
259   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,731
260               File, Deleted, Overwritten, Archive               10/30/2015 7:21        10/30/2015 7:24       10/30/2015 7:21              389
261   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,601
262   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,605
263   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,731
264   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,731
265   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
266   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,733
267   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22            9,601
268   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,733
269   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,732
270   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,733
271   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,733
272               File, Deleted, Overwritten, Archive               10/30/2015 7:21        10/30/2015 7:24       10/30/2015 7:21              396
273   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,733
274   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,761
275   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,793
276   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,793
277   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            1,729
278   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            2,334
279   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,593
280   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           23,890
281   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            5,180
282   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            5,927
283   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           10,192
284   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            5,383
285   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           13,352
286   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,878
287   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,602


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                                Case 3:17-cv-00939-WHA Document 2623-7 Filed 02/05/18 Page 11 of 11
                       The last accessed time stamp can be modified by both user activity as well as system processes.
                       As such, the last accessed time stamp does not necessarily indicate user interaction with a file.
#      File Ext                     Description                    Last Accessed          File Created          Last Written        Logical Size
288   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           15,322
289   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            3,900
290   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           16,003
291   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23           27,666
292   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,894
293   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,894
294   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,605
295   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,894
296   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,894
297   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,604
298   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,605
299   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:23            9,605
300   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           10,764
301   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           10,177
302   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           12,545
303   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            4,875
304   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           14,862
305   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           10,585
306   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           10,585
307   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22          132,592
308   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22          167,490
309   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:17            5,599
310   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           34,575
311   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:26        2/21/2016 23:26       1/30/2016 10:22           26,891
312               File, Deleted, Overwritten, Archive               10/30/2015 8:06        10/30/2015 7:24       10/30/2015 8:06           43,190
313   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22            9,605
314   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22           36,758
315   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22           48,783
316   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:17            5,497
317   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22           15,281
318   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22            9,604
319   cat         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:22            9,605
320   mum         File, Deleted, Overwritten, Archive               2/21/2016 23:25        2/21/2016 23:25       1/30/2016 10:17            2,108


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